Case 1:08-cv-00957-RJA-HBS Document1 Filed 12/29/08 Page 1 of 31

Revised 03/06 WDNY
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UNITED STATES DISTRICT cour) Se
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WESTERN DISTRICT OF NEW YO

 
 
  
 

UNDER THE CIVIL RIGHTS ACT, 42 U.S
(Prisoner Complaint Form)

All material filed in this Court is now available via the INTERNET. See Pro Se

lL, CAPTION OF ACTION

A. Full Name And Prisoner Number of Plaintiff: NOTE: if more than one plaintiff files this action and seeks in forma
pauperis status, each plaintiff must submit an in forma pauperis application and a signed Authorization or the only plaintiff to be
considered will be the plaintiff who filed an application and Authorization.

 

 

1. SEE CoeMPlLAINT
2.
-VS-
B. Full Name(s) of Defendant(s) NOTE: Pursuant to Fed.8.Civ.P. (O(a), the names of all parties must appear in the caption.

The court may aot consider a claim against anyone not identified in this section as a defendant. If yeu have more than six defendants,
Jou may continue this section on another sheet of paper if you indicate below that you have done so.

 

 

 

 

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2. STATEMENT OF JURISDICTION

This is a civil action secking relief and/or damages to defend and protect the rights guaranteed by the Constitution of the
United States. This action is brought pursuant to 42 U.S.C. § 1983. The Court has jurisdiction over the action pursuant to

28 U.S.C. §§ 1331, 1343(3} and (4), and 2201.

 

3. PARTIES TO THIS ACTION

PLAINTIFF’S INFORMATION NOTE: fo lisi additiona

 

Name and Prisoner Number of Plaintiff:

Present Place of Confinement & Address:

JSG

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Nate and Prisoner Number of Plaintiff:

 

Present Place of Confinement & Address:

 

 

 

 
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DEFENDANT’S INFORMATION NOTE: 1o provide information about more defendants than there is room for here, use this

format on another sheet of paper.

Name of Defendant:

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(if applicable) Official Position of Defendant:

 

 

 

 

 

 

 

(If applicable} Defendant is Sued in individual and/or Official Capacity
Address of Defendant:

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(If applicable) Official Position of Defendant:
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(if applicable) Official Position of Defendant:

 

{If applicable} Defendant is Sued in Individual and/or

Address of Defendant:

Official Capacity

 

 

 

4, PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?

Yes_X No

If Yes, complete the next section. NOTE: If you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

 

 

 

l. Name(s} of the parties to this other lawsuit:
Plaintiffs}:
Defendant(s):
2. Court (if federal court, name the district; if state court, name the county): Af 77 ACA Dis pric AN. x

 

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3. Docket or Index Number: Civil No,

Gitos-cv- §¥78
4. Name of Judge to whom case was assigned: AXE OARICK JT. S Ce Hin, J.

G.I CS,
Case 1:08-cv-00957-RJA-HBS Document1 Filed 12/29/08 Page 3 of 31

5, The approximate date the action was filed. ABuGusl Acs
6. What was the disposition of the case?
Is it still pending? Yes X_ No

Ifnot, give the approximate date it was resolved.

 

 

Disposition (check the statements which apply):
Dismissed (check the box which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court
order:

By court due to your valuntary withdrawal of claim;

 

Judgment upon mation or after trial entered for

plaintiff
defendant.
B. Have you begun any other lawsuits in federal court which relate to your imprisonment?
Yes No

 

If Yes, complete the next section. NOTE: Ifyou have brought more than one other lawsuit dealing with your imprisonment,
use this same format to describe the other action(s) on another sheet of paper.

 

 

 

 

 

 

 

 

 

1. Name(s) of the parties to this other lawsuit:
Plaintiff(s):
Defendant(s):
2. District Court:
3. Docket Number:
4. Name of District or Magistrate Judge to whom case was assigned:
5. The approximate date the action was filed:
6. What was the disposition of the case?

Is it still pending? Yes No

 

Hf not, give the approximate date it was resolved.

 
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Disposition (check the statements which apply):
Dismissed (check the box which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court
order;

By court due to your voluntary withdrawal of claim;
Judgment upon motion or after trial entered for
plaintiff

defendant.

 

5. STATEMENT OF CLAIM

For your information, the following is a list of some of the most frequently raised grounds for relief in proceedings under 42
US.C, § 1983. (This list does not include all possible claims.)

» Religion « Access to the Courts * Search & Seizure

* Free Speech * False Arrest + Malicious Prosecution

* Due Process * Excessive Force * Denial of Medical Treatment
* Equal Protection » Failure to Protect * Right te Counsel

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims, In other words, tell the story of what happened to you but do not use legal jargon.

Fed.R.Civ.P, 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief" "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial.“ Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995),
Fed.R.Civ.P. 10(b) states that “[a]l] averments of claim ,.. shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

 

Exhaustion of Administrative Remedies

Note that according to 42 U.S.C. § 1997e(a), “[n]o action shall be brought with respect to prison conditions under section
1983 of this title, or any other Federal law, by a prison er confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

You must provide information about the extent of your efforts to grieve, appeal, or otherwise exhaust your administrative
remedies, and you must attach copies of any decisions or other documents which indicate that you have exhausted your
remedies for each claim you assert in this action.

 
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A. FIRST CLAIM: On (date of the incident)

 

defendant (give the name and position held of each defendant involved in this incident)

 

 

 

did the following to me (briefly state what each defendant named above did):

 

 

 

 

 

 

 

 

The constitutional basis for this claim under 42 U.S.C. § 1983 is:

 

 

The relief I am seeking for this claim is (briefly state the relief sought):

 

 

 

 

Exhaustion of Your Administrative Remedies for this Claim:

 

 

 

Did you grieve or appeal this claim? _X _ Yes No If yes, what was the result? 2 oh ode 4 NOY er
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Did you appeal that decision? _X Yes No If yes, what was the result? Detada Ks MOLE
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Attach copies of any documents that indicate that you have exhausted this clatin.
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A, SECOND CLAIM: On (date of the incident)
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did the following to me (briefly state what each defendant named above did):

 

 

 

 

 

 

 

 

The constitutional basis for this claim under 42 U.S.C. § 1983 is:

 

 

The relief T am seeking for this claim is (briefly state the relief sought):

 

 

 

Exhaustion of Your Administrative Remedies fer this Claim:

Did you grieve or appeal this claim? Yes No [f yes, what was the result?

 

 

Did you appeal that decision? Yes No If yes, what was the result?

 

 

Attach copies of any documents that indicate that you have exhausted this claim.

If you did not exhaust your administrative remedies, state why you did not do so:

 

 

If you have additional claims, use the above format and set them out on additional sheets of paper.

 

6. RELIEF SOUGHT

Summarize the relief requested by you in each statement of claim above.

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Do you want a jury trial? Yes x No

 
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I declare under penalty of perjury that the foregoing is true and correct.

Executedon 4) @¢ Cah Or Z, Lou S
(date)
NOTE: Each plaintiff must sign this complaint and must also sign all both with the Court.

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Signature(s) of Plaintiff(s)
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